            Case 4:19-cv-04096-RAL Document 2 Filed 06/03/19 Page 1 of 2 PageID #: 24

AO 240 (Rev.07/10)Application to Proceed in District Court Without Prepaying Fees or Costs(Short Form)


                                       United States District Court
                                                                        for the

                                                            District of South Dakota


            Christopher(Bruce) The Living Man
                         Plaintiff/Petitioner
                                  V.                                              Civil Action No.
                     Paul Tenhaken, et. al.
                        Defendant/Respondent



        APPLICATION TO PROCEED IN DISTRICT COURT WITHOUT PREPAYING FEES OR COSTS
                                                                   (Short Form)

        I am a plaintiff or petitioner in this case and declare that I am unable to pay the costs ofthese proceedings and
that I am entitled to the relief requested.

          In support ofthis application, I answer the following questions imder penalty of perjury:

         1. Ifincarcerated. I am being held at:
If employed there, or have an account in the institution, I have attached to this document a statement certified by the
appropriate institutional officer showing all receipts, expenditures, and balances during the last six months for any
institutional account in my name. I am also submitting a similar statement from any other institution where I was
incarcerated during the last six months.

          2. Ifnot incarcerated. IfI am employed, my employer's name and address are:
  n/a




My gross pay or wages are: $                             0.00 , and my take-home pay or wages are: $             0.00 per

 (specify pay period)                  n/a

          3. Other Income. In the past 12 months,I have received income from the following sources (check all that apply):

       (a)Business, profession, or other self-employment                          □ Yes                  SfNo
       (b)Rent payments, interest, or dividends                                   0 Yes                  ^No
       (c)Pension, aimuity, or life insurance payments                            □ Yes                  S^No
       (d)Disability, or worker's compensation payments                           □ Yes                  sCNo
       (e)Gifts, or inheritances                                                  □ Yes                  ^No
       (f)Any other sources                                                       □ Yes                  13'No

         Ifyou answered "Yes"to any question above, describe below or on separate pages each source ofmoney and
state the amount that you received and what you expect to receive in thefuture.
 n/a
             Case 4:19-cv-04096-RAL Document 2 Filed 06/03/19 Page 2 of 2 PageID #: 25

AO 240 (Rev,07/10)Application to Proceed in District Court Without Prepaying Fees or Costs(Short Form)


          4. Amount of money that I have in cash or in a checking or savings account: $                                           0.00


          5. Any automobile, real estate, stock, bond, security, trust,jewelry, art work, or other financial instrument or
thing of value that I own,including any item of value held in someone else's name (describe the property and its approximate
value):
 n/a




          6. Any housing, transportation, utilities, or loan payments, or other regular monthly expenses (describe andprovide
the amount ofthe monthly expense):
 n/a




          7. Names(or, if tmder 18,initials only)of all persons who are dependent on me for support, my relationship
with each person, and how much 1 contribute to their support:
 n/a




          8. Any debts or financial obligations (describe the amounts owed and to whom they are payable):
 n/a




       Declaration: I declare under penalty of perjury that the above                                             d understand that a false
statement may result in a dismissal of my claims.


Date:             06/03/2019                                                                                        !el The Living Man
                                                                                                         Applicant's signature

                                                                                                               ruce), the living man
                                                                                                            Printed name
